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 4

 5   Attorney for Defendant, SHEEN MONAE PORTER

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 7                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
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                                                     ***
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10   UNITED STATES OF AMERICA,        )                 Case No. 1:05-CR-00393-01 AWI
                                      )
11                     Plaintiff,     )                 STIPULATION AND ORDER TO
                                      )                 CONTINUE SENTENCING DATE
12   v.                               )
                                      )                 Date :         April 17, 2006
13   SHEENA MONAE PORTER,             )                 Time :         9:00 a.m.
                                      )                 Judge :        Honorable
14                     Defendant.     )                                Anthony W. Ishii
                                      )
15   ________________________________ )

16          The parties hereby agree and stipulate as follows:

17          To continue the date of Sentencing, currently scheduled for April 3, 2006, at 9:00 a.m., to April

18   17, 2006, at 9:00 a.m.

19

20   DATED:         March 17, 2006                 __/s/________________________________________
                                                   DALE A. BLICKENSTAFF
21                                                 Attorney for Defendant, SHEENA MONAE PORTER

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23   DATED:         March 17, 2006                 ____________________________________________
                                                   STANLEY A. BOONE
24                                                 Assistant United States Attorney

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     STIPULATION AND ORDER TO CONTINUE SENTENCING DATE, Case No. 1:05-CR-00393-01 AWI
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 1                                             ORDER

 2
            IT IS HEREBY ORDERED that the new date of Sentencing is April 17, 2006, at 9:00 a.m.
 3

 4
     IT IS SO ORDERED.
 5
     Dated:    March 17, 2006                       /s/ Anthony W. Ishii
 6   0m8i78                                   UNITED STATES DISTRICT JUDGE

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     STIPULATION AND ORDER TO CONTINUE SENTENCING DATE, Case No. 1:05-CR-00393-01 AWI
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